                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                    5:06CV74-3-V
                                   (5:04CR28-7-V)


DONALD DAVID ELLISON,                     )
                                          )
      Petitioner,                         )
                                          )
             v.                           )                            ORDER
                                          )
UNITED STATES OF AMERICA                  )
                                          )
      Respondent.                         )
__________________________________________)


                 THIS MATTER is before this Court upon Petitioner’s “Motion to Vacate Judgment

Or Set Aside Sentence,” filed June 22, 2006. After having carefully reviewed the Petitioner’s Motion,

the record of the Petitioner’s criminal case and the relevant legal precedent, the Court concludes, out

of an abundance of caution, that the Petitioner’s Motion to Vacate should be granted, but only for

the purpose of allowing him to pursue a direct appeal of his conviction and sentence in his underlying

criminal case.

                               I. FACTUAL AND PROCEDURAL

       According to the record, Petitioner (along with several other defendants) was named in a

multi-count Bill of Indictment which charged that the Petitioner had conspired to possess with intent

to distribute quantities of methamphetamine, in violation of 21 U.S.C. § 841 and 846 and that

Petitioner possessed psuedoephedrine with intent to manufacture methamphetamine in violation of

21 U.S.C. § 841 and 18 U.S.C. § 2. On March 4, 2005 Petitioner entered a straight up guilty plea



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to the Indictment. On July 13, 2005 this Court sentenced Petitioner to 188 months imprisonment

on Count One of the Indictment to run concurrent to the sentence of 188 months imprisonment on

Count 11of the Indictment to be followed by five years of supervised release.

        The Petitioner did not directly appeal his conviction or sentence. Rather, on June 22, 2006,

the Petitioner filed the instant Motion to Vacate. By this Motion, Petitioner alleges claims of

ineffective assistance of counsel, that his sentence was illegally calculated using unconstitutional

sentencing guidelines, and that his fifth and sixth amendment rights were violated when he received

a gun enhancement. Additionally, in his affidavit in support of his motion, Petitioner explained that

after he received his sentence he told his attorney he was unhappy with the sentence and asked him

to file an appeal on his behalf. Petitioner contends that his attorney assured him that he would get

back in touch with Petitioner but that he never did. Petitioner also alleges that he did reach his

attorney by phone on one occasion and asked that he send Petitioner all legal documents from the

case. Again, Petitioner’s counsel assured Petitioner he would send the requested materials but he did

not. Finally, Petitioner asks that the clerk of court file this “2255 appeal” only if his lawyer has not

already done so.

        Upon careful consideration of this matter, the Court finds that the Petitioner’s Motion to

Vacate should be granted for the limited purpose of allowing him to perfect a direct appeal.

                                           II. ANALYSIS

        Indeed, in the United States v. Witherspoon, 231 F.3d 923 (4th Cir. 2000), the Court noted

that not just the failure to file an appeal as requested, but even the failure to consult with a client

concerning whether or not to appeal constitutes ineffective assistance of counsel. See also United

States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993) (an attorneys failure to file an appeal, when requested


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by his client – irrespective of the merits of the appeal); and Evitts v. Lucey, 469 U.S. 387, 391-05

(1985) (same).

       In the instant case, Petitioner has alleged that after he was sentenced, he asked his attorney

to file an appeal on his behalf but that, to his knowledge, his attorney never did so. Even if the

government were to file an answer or other response which attached an affidavit or other document

in which counsel simply denies having known that the Petitioner wanted to appeal, this Court still

would be compelled to give the Petitioner the benefit of the doubt.

       Accordingly, in light of Witherspoon, Evitts and Peak, the Court finds that the Petitioner’s

Motion to Vacate should be granted. That is, in cases such as this one, the prescribed remedy is to

vacate the original Judgment and enter a new Judgment from which an appeal can be taken. Thus,

the Court will vacate its Judgment so that the Petitioner may appeal his conviction and/or sentence.

                            III. NOTICE OF APPELLATE RIGHTS

       Mr. Ellison, you are hereby advised that you have an absolute right to appeal your criminal

case and any issues in it to the Fourth Circuit Court of Appeals. If you decide to do that, you will

have to file a Notice of Appeal with the Clerk of this District within 10 days after the day your new

Judgment of conviction is filed with this Court, or within 10 days after any government appeal is filed

with this Court, whichever day comes later. The Clerk will assist you in preparing your Notice of

Appeal if you so request.

       If you previously were determined to be indigent in connection with your criminal case, or if

you are now indigent an unable to pay for an appeal, you may request permission to proceed on

appeal without prepayment of the applicable filing fees.

                                            IV. ORDER


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       NOW THEREFORE, IT IS HEREBY ORDERED:

       1.     That the Petitioner’s Motion to Vacate is GRANTED;

       2.     That the Petitioner’s original Judgment is VACATED due to counsel’s failure to file

an appeal on the Petitioner’s behalf;

       3.     That the Clerk is directed to prepare a new Judgment with the same sentence and

conditions as indicated on the original Judgment form; and

       4.     That the Petitioner may appeal from his new Judgment as has been explained in this

              Order.



SO ORDERED.



                                               Signed: June 22, 2006




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